Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 1 of 21 Pageid#:
                                  22261




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION

   ELIZABETH SINES, et al.,
                                             CASE NO. 3:17-cv-00072
                               Plaintiffs,

                     v.                      NOTICE

   JASON KESSLER, et al.,
                                             JUDGE NORMAN K. MOON
                              Defendants.



               ANTICIPATED PRELIMINARY JURY INSTRUCTIONS
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 2 of 21 Pageid#:
                                  22262



                          Preliminary Jury Instruction # X


 Members of the Jury:

       Now that you have been sworn, I will give you some preliminary

 instructions to guide you in your participation in the trial.




                                            2
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 3 of 21 Pageid#:
                                  22263



                          Preliminary Jury Instruction # X

                                      The Parties

       This is a civil lawsuit. The Plaintiffs are Elizabeth Sines, Seth Wispelwey,

 Marissa Blair, April Muñiz, Marcus Martin, Natalie Romero, Chelsea Alvarado,

 Devin Willis, and Thomas Baker. At times in these instructions and during trial,

 these individuals will be referred to collectively as “the Plaintiffs.” The

 Defendants are Jason Kessler, Richard Spencer, Christopher Cantwell, James Alex

 Fields, Jr., Vanguard America, Robert “Azzmador” Ray, Nathan Damigo, Elliott

 Kline a/k/a Eli Mosley, Identity Evropa, Matthew Heimbach, Matthew Parrott

 a/k/a David Matthew Parrott, Traditionalist Worker Party, Michael Hill, Michael

 Tubbs, League of the South, Jeff Schoep, and National Socialist Movement. They

 may be referred to individually as “a defendant” or collectively as “the

 Defendants.”




                                           3
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 4 of 21 Pageid#:
                                  22264



                          Preliminary Jury Instruction # X

                          Not All Parties in the Courtroom

       During the proceedings, you may notice that not all Plaintiffs will be

 physically present in the courtroom for every day of trial. You must not consider

 this fact at all during your deliberations or while evaluating the credibility of any

 witness. As a necessary means to reduce the risk of spread of COVID-19, I

 restricted the total number of persons from the Plaintiffs’ side who may be present

 in the Courtroom at any given time. You must not hold that fact against them. The

 Court has also permitted any party including Defendants to participate remotely in

 the trial under certain circumstances to reduce the risk of spread of COVID-19, and

 you must not hold it against any party if they are not physically present in the

 courtroom for every day of trial.




                                            4
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 5 of 21 Pageid#:
                                  22265



                          Preliminary Jury Instruction # X
                                   Duty of the Jury

        It will be your duty to find from the evidence what the facts are. You and you

 alone will be the judges of the facts. You will then have to apply to those facts the

 law as I will give it to you. You must follow that law whether you agree with it or

 not.

        Nothing I may say or do during the course of the trial is intended to indicate,

 or should be taken by you as indicating, what your verdict should be.




                                           5
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 6 of 21 Pageid#:
                                  22266



                           Preliminary Jury Instruction # X

                                    Burden of Proof

         Now I wish to say a few words about the burden of proof which exists in this

 case.

         In this civil case, Plaintiffs each have the burden of proving their claims

 against each Defendant by what is called a “preponderance of the evidence.” This

 burden applies to all of Plaintiffs’ claims except their claims for intentional

 infliction of emotional distress, which will be discussed later. In the same vein,

 each Defendant has the burden to prove any affirmative defenses that they may

 advance by a preponderance of the evidence. I will explain this more after you

 have heard all the evidence. For now, keep in mind that if you conclude that a

 party who has the burden of proof on an issue establishes his or her position by a

 preponderance of the evidence, you must decide that issue for the party.

         The term “preponderance of the evidence” means evidence which, as a

 whole, shows that the fact sought to be proven is more probable than not. In other

 words, a preponderance of the evidence means such evidence that persuades you

 that a fact is more likely true than not true. In your mind, you may think of this as

 51%—more likely than not.

         In determining whether any fact in issue has been proven by a

 preponderance of the evidence, you may—unless otherwise instructed—consider

                                             6
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 7 of 21 Pageid#:
                                  22267



 the testimony of all witnesses, regardless of who may have called them, and all

 exhibits received in evidence, regardless of who may have produced them.

       You may have heard of the term “proof beyond a reasonable doubt.” That is

 a stricter standard that is applicable in criminal cases. It does not apply in civil

 cases such as this. You should, therefore, put it out of your minds.




                                             7
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 8 of 21 Pageid#:
                                  22268



                           Preliminary Jury Instruction # X

                                     Nature of Case

        I wish to give you a general overview of this case. This is a civil lawsuit

 brought by multiple Plaintiffs against multiple Defendants, including individuals

 and organizations, based on events that occurred in Charlottesville, Virginia in

 August 2017. The Plaintiffs in this case claim that the Defendants and others

 conspired to commit racially motivated violence at an event the Defendants called

 United the Right, which was held in Charlottesville on August 11 and 12, 2017.

 Plaintiffs allege that the Defendants helped to plan, promote, or carry out racially

 motivated violent acts during that event and, in doing so, caused Plaintiffs

 physical, emotional, and monetary harm. Such acts include a violent torch march

 on August 11, and various acts of violence on August 12, including a car attack

 that drove through a large crowd of people, which Plaintiffs assert injured seven of

 the nine Plaintiffs in this case.

        Some of the Plaintiffs raise additional claims, including that certain

 Defendants subjected them to acts of intimidation, harassment, violence, and

 vandalism based on Plaintiffs’ race, religion, or ethnicity, and that Defendant

 James Fields committed assault, battery, and intentional infliction of emotional

 distress. Defendants dispute these claims, deny that they conspired with anyone to

 commit violence, and contend that they should not be held liable for these alleged

                                            8
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 9 of 21 Pageid#:
                                  22269



 actions and that they are not responsible for any injury or damages suffered by

 Plaintiffs.

        This summary of the parties’ positions is intended only as background

 information to help you understand the nature of this case. It is not evidence and

 you may not consider it as such.




                                          9
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 10 of 21 Pageid#:
                                  22270



                          Preliminary Jury Instruction # X

                                   Course of Trial I

       The Plaintiffs’ and the Defendants’ attorneys will have the opportunity to

 make what is called an opening statement. Opening statements are neither evidence

 nor argument. An opening statement is an outline of what that party intends to

 prove, offered to help you follow the evidence. What the attorneys say in their

 opening statements is not evidence.

       After each party has had an opportunity to make an opening statement,

 Plaintiffs will present their witnesses, and Defendants may cross-examine those

 witnesses. Then, Defendants will have the opportunity to call their witnesses and

 present their evidence. Plaintiffs may cross-examine any of Defendants’ witnesses.

 After the parties’ main case is completed, Plaintiffs may be permitted to present

 rebuttal evidence.

       Once again, I instruct you that your duty is to consider the evidence and find

 what the facts are. The evidence from which you will find the facts will consist of

 the testimony of witnesses, documents, and other things received into the record as

 exhibits, and any facts that the parties agree are not disputed, or such matters as I

 may instruct you to find.




                                           10
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 11 of 21 Pageid#:
                                  22271



                          Preliminary Jury Instruction # X

                                  Course of Trial II

       During the trial, it may be necessary for me to confer with the parties and

 their lawyers out of your hearing or to conduct a part of the trial out of your

 presence. I will handle these matters as briefly and conveniently for you as I can,

 but you should remember that they are a necessary part of any trial.

       My general procedure is to take one mid-morning break, a lunch break, and

 a mid-afternoon break. However, the trial schedule is not written in stone. If you

 become uncomfortable and need to take a special break, please let me or the court

 security officer know, and a short break will be provided. We want to make sure

 you are comfortable, so you can concentrate on what is being said and properly

 consider the evidence as it is received.




                                            11
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 12 of 21 Pageid#:
                                  22272



                          Preliminary Jury Instruction # X

                                        Evidence

       The evidence from which you will find the facts will consist of the testimony

 of witnesses, documents, and other things received into the record as exhibits, and

 any facts that the lawyers agree to or stipulate to or that I may instruct you to find.

       Certain things are not evidence and must not be considered by you. I will

 list them now:

    1. Statements, arguments, and questions by lawyers are not evidence.

    2. Objections to questions are not evidence. Lawyers have an obligation to their
       clients to make objections when they believe evidence being offered is
       improper under the rules of evidence. You should not be influenced by the
       objection or by the court’s ruling on it. If the objection is sustained, ignore
       the question. If it is overruled, treat the answer like any other. If you are
       instructed that some item of evidence is received for a limited purpose only,
       you must follow that instruction.

    3. Testimony or any matter that the court has excluded or told you to disregard
       is not evidence and must not be considered.

    4. Anything you may have seen or heard outside the courtroom is not evidence
       and must be disregarded. You are to decide the case solely on the evidence
       presented here in the courtroom.




                                            12
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 13 of 21 Pageid#:
                                  22273



                             Preliminary Jury Instruction # X

                 Direct and Circumstantial Evidence; Credibility

       There are two kinds of evidence: direct and circumstantial. Direct evidence

 is direct proof of a fact, such as testimony of an eyewitness. Circumstantial evidence

 is proof of facts from which you may infer or conclude that other facts exist. I will

 give you further instructions on these as well as other matters at the end of the case,

 but keep in mind that you may consider both kinds of evidence. You may also draw

 all reasonable and legitimate inferences and deductions from the evidence.

       As judges of the facts, it will be up to you to decide which witnesses to believe,

 which witnesses not to believe, and how much of any witness’s testimony to accept

 or reject. This part of a jury’s responsibility is referred to as determining the

 credibility of witnesses.

       Among the factors you may properly consider in deciding whether a

 particular witness is “credible” (or believable) are:

    1. Whether the witness has any motive or reason for being either truthful or
       untruthful;

    2. Any interest the witness may have in the outcome of the case;

    3. Whether there is any appearance or indication of bias or prejudice in the
       witness’s testimony or conduct;

    4. The extent to which other evidence supports or contradicts the testimony;

    5. Whether the witness is likely to recall or have knowledge of the facts about
       which he or she is testifying.
                                            13
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 14 of 21 Pageid#:
                                  22274



                          Preliminary Jury Instruction # X

                                  Conduct as Jurors

 Now, a few words about your conduct as jurors:

       First, I instruct you that during the trial you are not to discuss the case with

 anyone or permit anyone to discuss it with you. This includes your family, friends,

 and those with whom you work, as well as your fellow jurors. Until you retire to the

 jury room at the end of the case to deliberate on your verdict, you simply are not to

 talk about this case.

       Second, do not read or listen to anything relating to this case in any way. If

 anyone should try to talk to you about it, bring it to the court’s attention promptly.

       Third, do not try to do any research or make any investigation about the case

 on your own.

       Finally, do not form any opinion until all the evidence is in. Keep an open

 mind until you start your deliberations at the end of the case.

       If you wish, you may take notes during trial. But if you do, leave them in the

 jury room when you leave at night. And remember that they are for your own

 personal use. Be careful not to get so involved in notetaking that you become

 distracted and miss part of the testimony. Your notes are only to aid your memory,

 and if your memory later differs from your notes, rely on your memory. Do not be



                                           14
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 15 of 21 Pageid#:
                                  22275



 unduly influenced by the notes of other jurors. A juror’s notes are not entitled to

 any greater weight than the recollection of each juror concerning testimony.




                                         15
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 16 of 21 Pageid#:
                                  22276



                           Preliminary Jury Instruction # X

                                    Use of Technology

        I know that many of you use cell phones, the internet, and other tools of

 technology. You must not talk to anyone at any time about this case or use these

 tools to communicate electronically with anyone about the case. As I said, this

 includes your family and friends.

        You may not communicate with anyone about the case through any means,

 including your cell phone, through e-mail, text messaging, or on Snapchat or

 Twitter, or through any blog or website, including Facebook, Google+, LinkedIn,

 or YouTube. You may not use any similar technology or social media, even if I

 have not specifically mentioned it here.

        I expect you will inform me as soon as you become aware of another juror’s

 violation of these instructions. A juror who violates these restrictions jeopardizes

 the fairness of these proceedings, and a mistrial could result, which would require

 the entire trial process to start over.




                                            16
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 17 of 21 Pageid#:
                                  22277



                         Preliminary Jury Instruction # X

                                  Use of Depositions

       Depositions may be received in evidence. A deposition is a witness’s sworn

 testimony that is taken before the trial. During a deposition, the witness is under

 oath and swears to tell the truth, and the lawyers for each party may ask questions.

 A court reporter is present and records the questions and answers. Deposition

 testimony may be accepted by you, subject to the same instructions that apply to

 witnesses testifying in open court.

       Some of the deposition testimony that you may hear will be a video

 recording of the deposition. Some of the deposition testimony that you may hear

 will be read out loud by an attorney. If the deposition testimony is read out loud,

 you should not place any significance on the behavior or tone of voice of any

 person reading the questions or answers.




                                            17
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 18 of 21 Pageid#:
                                  22278



                          Preliminary Jury Instruction # X

                                      Conspiracy

       As I explained to you earlier, Plaintiffs allege that the Defendants in this

 case engaged in a conspiracy to commit racially motivated violence in violation of

 a federal law, 42 U.S.C. § 1985(3), and also in violation of Virginia law. I will

 give you more detailed instructions on the legal requirements to prove these claims

 after the close of evidence. But before the parties begin their opening statements, I

 want to provide you with a few general instructions regarding the law of

 conspiracy to help you understand the applicable legal principles.

       To establish a claim under 42 U.S.C. § 1985(3), Plaintiffs must prove by a

 preponderance of the evidence: (1) A conspiracy of two or more persons, (2) who

 are motivated by a specific class-based, invidiously discriminatory animus, to (3)

 deprive the plaintiff of the equal enjoyment of rights secured by the law to all, (4)

 and which results in injury to the plaintiff, as (5) a consequence of an overt act

 committed by the defendants in connection with the conspiracy.

       A conspiracy is an agreement between two or more persons to join together

 to accomplish some unlawful purpose. To prove a conspiracy, the Plaintiffs will

 have to show that at least one of the Defendants took an overt act in furtherance of

 the conspiracy. Because there are multiple defendants in this case, you will also

 need to consider which of the Defendants was a member of the alleged conspiracy.

                                           18
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 19 of 21 Pageid#:
                                  22279



 The Court will further explain the legal principles concerning what constitutes a

 conspiracy, and the other claims Plaintiffs have asserted.




                                          19
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 20 of 21 Pageid#:
                                  22280



                                   Preliminary Jury Instruction # X

          As discussed above, this case is a federal civil action. In this type of case,

 parties are entitled to the disclosure of all relevant, non-privileged evidence the

 other side possesses or controls, including relevant documents and electronically

 stored information. This pre-trial process is known as “discovery.”

          During the discovery process in this case, I found that Defendants Elliott

 Kline, Robert “Azzmador” Ray, Vanguard America, Nationalist Socialist

 Movement, and Matthew Heimbach failed to comply with their discovery

 obligations, and as a result I will issue appropriate sanctions against each of them.1

 The Court will instruct you at a later time with respect the particular nature of the

 sanctions.

          You are cautioned, however, that each party is entitled to have the case

 decided solely on the evidence that applies to that party. Any sanctions against

 these parties have no bearing on other parties, and in any event, does not relieve

 Plaintiffs of their burden to prove by a preponderance of the evidence the conduct

 committed by the other Defendants in the case.


           1
             [Note for parties; to be omitted in jury instruction.] The Court intends to permit Plaintiffs to present as
 affirmative evidence at the close of their case-in-chief the facts that were deemed established pursuant to the Orders
 of Judge Hoppe with respect to Defendant Elliott Kline and Robert Azzmador Ray. See Dkts. 910, 1106. The Court
 further intends to give the jury in its closing instructions the permissive adverse inference instruction with respect to
 Defendants Ray, Kline, Nationalist Socialist Movement, Vanguard America, and Matthew Heimbach. See Dkt. 1295
 at 26. The Court will issue an Order this day denying Plaintiffs’ request for modification of Judge Hoppe’s order
 imposing sanctions with respect to Fields. See Dkt. 1266. Still, the Court intends to impose as a sanction that which
 Judge Hoppe would impose—that Fields be precluded from testifying in his own defense.

                                                            20
Case 3:17-cv-00072-NKM-JCH Document 1346 Filed 10/27/21 Page 21 of 21 Pageid#:
                                  22281



                         Preliminary Jury Instruction # X

                          Evidence for a Limited Purpose



       Some evidence may be admitted for a limited purpose only. When I instruct

 you that an item of evidence has been admitted for a limited purpose, you must

 consider it only for that limited purpose and for no other.




                                           21
